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                                            THE CITY OF NEW YORK                                       JOHN P. GUYETTE
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                                                                     October 18, 2018

       By ECF
       Honorable Brian M. Cogan
       United States District Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                                      Re:     Ok v. New York City Department of Education, et al.
                                              18 Civ. 392 (BMC)
                                              Our No. 2018-005857

       Dear Judge Cogan:

                      This office represents the defendants in the above-referenced action. Pursuant to
       the Court’s order, dated October 15, 2018, and all prior orders, please find the attached copy of
       the 3020-a Opinion and Award in the matter of Department of Education of the City of New York
       v. Seung Yong Ok, SED File No. 32,199.

                                                                     Respectfully submitted,


                                                                     /s/

                                                                     John P. Guyette
                                                                     Assistant Corporation Counsel

       Cc:     GLASS KRAKOWER LLP
               Attorneys for Plaintiff
               100 Church Street, 8th Floor
               New York, NY 10007
               Att: Bryan D. Glass
               (By ECF)
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NEW YORK STATE EDUCATION DEPARTMENT
UNIT OF SCHOOL DISTRICT EMPLOYER-EMPLOYEE RELATIONS
______________________________________________________
In the Matter of the Charges Preferred By:                     )
                                                               )
DEPARTMENT OF EDUCATION OF THE                                 ) SED File No.: 32,199
CITY OF NEW YORK,                                              )
                                                               )    Opinion
                              Complainant-Employer             )      and
                                                               )    Award
               v.                                              )
                                                               )
SEUNG YONG OK,                                                 )
                              Respondent-Tenured Teacher       )
                                                               )
Pursuant to Education Law Sections 2590-j and 3020-a_______ __)

Before Donald T. Kinsella, Hearing Officer

Appearances:

       For the Department:
               Howard Friedman, Esq., General Counsel for Department of Education
               By Jessica Kishpaugh, Esq., of Counsel, Office of Legal Services

       For the Respondent:
               Robert Reilly, Jr., Esq., General Counsel NYSUT
               By Harold Eisenstein, Esq. of Counsel, NYSUT

       The Department of Education of the City of New York (“Department”) brought

disciplinary charges against Seung Yong Ok (“Respondent”), a tenured teacher, on October 10,

2017, pursuant to New York State Education Law §3020-a. The Respondent requested a

hearing. The undersigned was appointed as Hearing Officer in this matter on October 31, 2017.

       A Pre-hearing conference was held on April 19, 2018. The hearing was conducted at the

offices of the New York City Department of Education at 100 Gold Street, New York, NY on

June 5, 6, 27, 28, and July 11, 2018. The parties were represented by their respective counsel

throughout the proceedings and were afforded the opportunity to present and examine witnesses,

to cross-examine witnesses, to present documentary evidence, and to present legal arguments.
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Closing arguments were heard on July 11, 2018. A stenographic record of the proceedings was

made, and upon my receipt of the final volume of the transcript on July 18, 2018, the Record in

this matter is closed.

        The evidence presented, the authorities cited, and the positions and arguments set forth

on behalf of the parties have been fully considered by the undersigned whether or not cited or

referred to herein.

        Respondent is a tenured teacher who has worked for the DOE for 21 years as of the date

of the hearing. During the times relevant to the Specifications in this case, Respondent taught

Living Environment (Biology), AP Biology, Health Careers, and Anatomy and Physiology

teacher at Flushing High School, Queens, N.Y.

                                           SPECIFICATIONS

        The following are the Combined Specifications filed against the Respondent as contained

in Department Exhibit 1 (DOE-1)1:

Seung Yong Ok (hereinafter referred to as Respondent), under File #0729278, is a tenured
teacher assigned to Flushing High School, located in Queens, within District 25. During the
2015-2016 and 2016-2017 school years, Respondent engaged in misconduct, harassment,
insubordination, conduct unbecoming his position and neglect of duty as follows:

In Particular:

SPECIFICATION 1: On or about February 15, 2017, Respondent interrupted a Parents
Association meeting in that, Respondent:

a) Gave parents his phone number and/or directed parents to call him for the real status of the
school.
b) Accused another faculty member of failing to translate the Respondent's statements at the
Parents Association meeting because she did not want to tell the truth to parents.
c) Polled parents regarding whether or not they received "cut calls" from the school if their child
was absent from school.
d) Told parents that teachers are being pressured to pass students.
e) Told parents that students are just being pushed through the system.

1 “DOE” refers to Department’s Exhibit; “R” refers to Respondent’s Exhibit; “T” refers to the page number of
the transcript; “J” refers to Joint.
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SPECIFICATION 2: During the 2015-2016 and/or 2016-2017 school years, Respondent created
and/or attempted to create a hostile work environment in that:

a) Respondent continuously sent e-mails to colleagues who asked to be removed from his
distribution list.
b) Respondent repeatedly replied all to e-mails from administration to staff to discuss his
personal grievances with the administration.
c) On or about May 2017, Respondent sent an e-mail to the entire staff stating, kudos to those
teachers for standing up for what's right even if it means personal risk in a corrupt system.

SPECIFICATION 3: On or about December 1, 2016, Respondent sent an e-mail to the entire
staff, which stated in sum and substance:

a) Mr. Amaya - I'm sorry, but I just realized that every time you email me, there seems to be
more work I need to do. Plus, I never mentioned this before, I feel harassed by the mention of
your achievements in the iron man competition in the email stamp. I always feel bad about
myself when I see that you can teach, lead the department, coach, be a father of 4 children, and
still manage to have a six pack. And you do realize that I live like 5 houses away from you?
Please choose another route for your run if you can. Is it really necessary to wear those tight
biking shorts as well? Every time my wife sees you running by, she immediately glares at me
with a look I can only describe as accusational, as I sit watching tv with a bag of potato chips.

b) Ms. Pinkasova - Please remove me from your distribution list. My therapist recently told me
that my nightmares of being chased by a big W can only be from the daily Witsi inquiries you
force us to do. In fact, I have been having flashbacks of sentence fragments and BBS tasks every
time I see the color pink during my school day.

c) Ms. Alicanoglu and Ms. Berhumoglu - Please, I do not want any correspondence from either
of you because, honestly, your names are so hard to spell that I have to waste valuable time -
time I could be spending on my students - to constantly refer back to email lists to see that I
spelled your names correctly (I actually had to look twice for this paragraph). Please follow my
example : Ok. I would prefer you both not send me any emails until you officially change your
names to Al and Ber.

d) Mr. Cervalis - Even though I have never had a mass email from you, I have to ask that you
never do. Your mannerism and voice have a frightful resemblance to George Costanza from
Seinfeld. Just the mere thought of you (or George) distracts me from the important work of
preparing my lesson plans. Remember the time George wanted a better parking spot.. .. damn, I
did it again.

e) Mr. Copchains - Please remove me from any future emails. Nothing personal, but with my
past actions, your name brings me dread and guilt. Your name actually harasses me. The only
thing worse would be if your name was Doctorneedle.
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f) Ms. Stevens - It's bad enough that you enter the room after my class with more energy at 8:45
in the morning than the teenagers we teach, but your impeccable dress and accessories puts my 1
10 dollar golf shirts from Modell's to shame. Although you seem to know the ins and outs of
grammar and syntax - I can not but be offended that you believe that Alanis Morissette's lyrics in
the song , "Ironic" actually shows irony. A black fly in my chardonnay is not ironic. It would
only be ironic if that fly lived it's life fighting for the temperance movement.

g) Dr. Chester- no explanation necessary.

h) It is now midnight so I must get back to sewing my Cheerleading outfit. But I promise that
there are plenty of more people I would like to bar from sending me any more work related
emails.

i) As a suggestion can there be a position posting for Email Block List coordinator? I believe that
plenty of other staff members would like to omit emails from others they disagree with at FHS.

SPECIFICATION 4: During the 2015-2016 and/or 2016-2017 school years, the Respondent
failed to adhere to the Principal's directive to stop sending the emails as described in
Specification 2 and/or Specification 3.

       According to the Department, the conduct, if proven, constituted: just cause for discipline

under Education Law §3020-a; neglect of duty; conduct unbecoming Respondent's position or

conduct prejudicial to the good order, efficiency, or discipline of the service; a violation of the

by-laws, rules and regulations of the Chancellor, Department, School and/or District;

misconduct; harassment; insubordination; substantial cause that renders Respondent unfit to

perform his obligations properly to the service; and just cause for termination.

                                             DECISION

       The evidence presented consisted of the testimony of six witnesses, and the presentation

of 18 exhibits by the Department, and the testimony of Respondent Seung Yong Ok and six

witnesses, and the presentation of nine exhibits on behalf of Respondent. The evidence, the

authorities cited, and the positions and arguments set forth on behalf of the parties have been

fully considered whether or not cited or referred to herein. Both parties had the full opportunity

to present evidence and witnesses, to cross-examine witnesses, to make arguments in favor of
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their respective positions, to make opening and closing statements, and to provide legal

authorities supporting their positions.

       Based on my review of the record, my assessment of the credibility of the witnesses, and

my review of the probative value of the exhibits and evidence, I find the Department has met its

burden and shown the Respondent to have engaged in conduct unbecoming his position with

respect to the allegations in Specifications 2a and 3. The Specifications proven by the

Department in this case constitute just cause for disciplinary action under Education Law

§3020a. The Department failed to meet its burden with respect to Specifications 1, 2b, 2c, and 4.

       As set forth below, I find that the appropriate disciplinary penalty for the violations

committed is a fine of $500, continuing education and remedial action as set forth below.

                                             PROOF

       Respondent- Seung Yong Ok (T 393-488) is a tenured high school biology teacher. At

the time of the conduct alleged in this matter, he had been a Living Environment (Biology), AP

Biology, Health Careers, and Anatomy and Physiology teacher at Flushing High School for six

or seven years. Prior to that, he taught for 14 years at William H. Maxwell Vocational High

School in Brooklyn. Prior to December 2016, Respondent had always been rated as effective to

highly effective by his supervisors. For 2015-16 and 2016-17, an average of 80 and 81% of

Respondent’s students passed the Living Environment Regents exam. The Flushing High

Science Department average for the same years was 60 and 50% of students passing.

       Flushing High School, in Queens, has 1800-2000 students and 120 teachers. The student

body is 36% high needs, 22% ELL (English Language Learners), and 83% are from foreign

countries.
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       The Department's six witnesses, Assistant Principal (AP) Patricia Cuti (T 162-198), AP

Tiffany D’Alessio (T 198-221), Special Commission on Investigation Supervising Investigator

Andre Jenkins (T 31-99), Flushing High Principal’s secretary Terri Wright (T 99-122), teacher

Vincent Tobia (T 123-46), and teacher Keith Carvelas (T 233-50) were credible and competent

witnesses, except as noted in the decision below. Each of the DOE employees has sufficient

educational degrees, licensure, training and experience as an administrator, classroom teacher, or

other professional with the DOE to provide competent testimony. Respondent’s witnesses,

teacher Natalie Berhumoglu (T 251-284), former Flushing High teacher Lucienne Shannon

Schnell (T 284-300), teacher Javier Gomez (T 301-17), teacher and Flushing High UFT

representative Laura Marie Giglio (T 324-63), retired teacher Rita Baris (T 363-78), and former

Flushing High teacher Christopher DeNigris (T 378-92) provided relevant information with

respect to the Specifications. Respondent (T 393-488) provided some context to the events

surrounding the Specifications and explained his actions.

       The conduct alleged in the Specifications is descriptive and in a sense is undisputed.

Respondent and his fellow staffers occasionally received emails addressed to all of the staff in

the school concerning various school and education related issues. Respondent would frequently

use the “reply all” button in his email to respond to the Principal. Usually Respondent was on

topic in his responses, but occasionally he would add other issues to his response – the issues

raised by the Respondent were always education or school related, except, arguably, the reply

email described in Specification 3. A few employees asked Respondent to remove their names

from his distribution list. Respondent informed the employees that it was not his list, he was just

using reply all, and he would occasionally encourage the complaining party to ask someone at

DOE about his practices. On a few occasions, the Principal would reply to Respondent’s email
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directly without copying the rest of the staff. The Respondent would somehow then reply to the

Principal’s reply by again including the full list of recipients from the first email. No one asked

him how he did this, since he testified that his only distribution list was for 20 people in a

pizza/lunch group; presumably he copied the recipient list from the original email and pasted it

into the “to” field of his reply.

        Andre Jenkins (T 31-99), Supervising Investigator, Special Commission of Investigation

(SCI) supervises a team of ten investigators, and he has been with the agency since 1990. Before

that he was an investigator with the Inspector General’s Office of the Board of Education. The

SCI investigates employee misconduct relating to criminal activity, conflict of interest, and

fraudulent use of documents. Mr. Jenkins has extensive experience in his role. In early

December 2016 an investigator working for Mr. Jenkins was assigned to investigate a complaint

against the Respondent. DOE Exhibits 2A-2I were identified as the case file relating to

Respondent. The assigned investigator had conducted a number of interviews, and he had

obtained a large number of documents and emails.

        DOE 2A was a letter from the SCI Deputy Commissioner recommending strong

disciplinary action against Respondent, including dismissal from employment, or at least a

warning that continuation of Respondent’s conduct would result in termination, and a

recommendation that the DOE computer technology people do something to restrict the

Respondent from using the “Reply All” function on his DOE email account.

        The initial complaint that triggered a file being opened on Respondent in early December

2016 was followed in quick succession by a number of similar complaints about his email usage

and “bullying”. (DOE 2B) The case was briefly referred to the NYPD, but within a matter of

days was sent back to SCI for an investigation. The investigative steps and a synopsis of
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interviews are set forth in a series of action reports that form the bulk of DOE Exhibit 2C. The

first ten pages of DOE 2C are a final report from the assigned investigator. The investigators'

notes are incorporated in DOE 2D. DOE 2E contained a worksheet, investigative checklist, a list

of all of the documents (in groups) related to the investigation contained in DOE 2E, and in

subsequent DOE Exhibits DOE 2F-I.

       Mr. Jenkins accompanied the investigator to an interview of Respondent. Mr. Ok

indicated that he felt that there was no policy against doing a reply all to emails from

administration and staff; during the interview, Respondent indicated that he would stop including

people who had expressed discomfort or objection to inclusion in the reply all emails. Jenkins

also reviewed the email that formed the basis for Specification3; he did not find the email as

amusing as Respondent thought it was.

       On cross examination, Sup. Inv. Jenkins acknowledged that the investigative file did

contain documents related to an Office of Special Investigations inquiry in 2013 that concluded

that Respondent was not violating Departmental regs or the law when he hit reply all to all

Departmental emails, filling his fellow employees’ mailboxes with Respondent’s views on many

topics. The Flushing High Principal at the time was going to take care of the situation some

other way. (DOE 2E Bates pp. 188-207) Mr. Jenkins also admitted that a complaint of creating a

toxic work environment by replying to all emails with critical comments about the administration

of the school did not violate Chancellor’s Regulation A-830 relating to discrimination.

       Patricia Cuti-(T 162-198) Assistant Principal (AP) Flushing High School Pupil Personnel

Services (attendance and programming guidance) has been in her position for seven years after

working as a Guidance Counselor for three years. She knew Respondent to be a biology, or

living environment, teacher to 9th through 12th Grade students. The AP had a cordial relationship
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with Respondent, but she became concerned about his group emails to staff at the school. She

described the situation as follows:


       The e-mails had escalated over a period of time. They had gone from professional
       e-mails to e-mails that were more personal in nature. They started to single out
       individuals in Flushing High School….(I)t made me feel very uncomfortable. I
       was worried and concerned about responding to the e-mails, that I was not
       involved in in terms of the content matter. It did not pertain to my position or my
       job at all. People that were asking to be removed from these e-mails were
       personally singled out, and it made me feel concerned, worried.

       … At first, they talked about pedagogical concerns. They were discussing
       curriculum or strategies, or passing rates and questions. When they progressed on
       and they became more frequent, they were directly addressed to the principal.
       They were directly addressed to his supervisor. In some of the final e-mails that
       we started receiving they talked about people's attire, they talked about people's
       physique, and they talked about their names, their mannerisms, their personal
       behaviors. (T 166-8)

       AP Cuti felt that Respondent’s concerns about school matters would have been better

addressed at a faculty meeting, in a departmental meeting, or with supervisors – not with a large

number of people who were not necessarily involved in the issues raised by Respondent, such as

the school aides, secretaries, guidance counselors, etc. who were included in the group emails.

AP Cutie was afraid that she would be targeted if she asked Respondent to stop. Several

Guidance Counselors expressed to her that they were concerned about being recipients to

Respondent’s emails. It should be noted that there was no evidence of any personal emails as

described by AP Cutie, except the December 1, 2016 email described in Specification 3.

       AP Cutie identified the portions of the staff handbooks for 2015-16 (DOE 3) and 2016-17

(DOE 4) that related to internet usage. The DOE usage policy stated that the access to or use of

the internet through DOE connections should be solely for educational purposes. It defined

“acceptable” e-mail use as “…(T)hose that conform to the purpose, goals, and mission of the

DOE and to each user’s job duties and responsibilities.” “Unacceptable” use was defined as:
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“…(A)ctivities using DOE hardware, software, or networks at any time that does not conform to

the purposes, goals, and mission of the DOE and to each user’s job duties and responsibilities.”

        The AP was also involved in a parents’ association meeting on February 15, 2017. The

meeting was to be run by Zelma Vasquez, the PTA President, and was to last about an hour. AP

Cutie was to use about 35 minutes to discuss initiatives at Flushing High, parental updates,

college and career readiness issues, and attendance. Respondent was present for the meeting, but

was not on the agenda. AP Cutie, who had attended every monthly PTA meeting for seven years

had never seen Respondent at one before. Respondent distributed fliers to parents at the

meeting. The fliers concerned Regents exam results and data, including passing percentages; the

fliers also listed Respondent’s personal phone number.

        During the meeting, and after AP Cutie had given a presentation on the respect for all

initiative at the school. Respondent got up and began talking about an incident in which a

student was punched, and he mentioned that the guilty party received only mild discipline. The

PTA President tried to tell Respondent that there was an agenda and that he could bring issues up

at the end of the meeting, if there was time. Respondent continued on the topic despite the

President’s request. He then got into a dispute with an administrator who was handling English

Spanish translation duties – she had stopped translating because one of the parents of one of the

students involved in the incident was at the meeting. Respondent kept talking anyways. AP

Cutie tried to continue her presentation with a discussion of attendance, and Respondent

interrupted and began asking questions and making pronouncements about attendance issues,

Regents passing rates and his own performance evaluations. He finally stopped talking about

half way through the meeting.2 AP Cutie felt that Respondent’s conduct in talking over others


2 Respondent, unbeknown to anyone else at the meeting, recorded it. R 8 is a digital version of the recording,

and R 9 is Respondent’s transcript of the meeting.
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and persistence in talking about his personal views and issues was unprofessional and in the

wrong forum. AP Cutie identified the disciplinary letters given to Respondent with respect to the

PTA meeting performance (DOE 5) and Respondent’s email usage (DOE 6).

       Tiffany D’Alessio (T 198-221) Flushing High School Assistant Principal of Instructional

Support Services (ISS), or Special Education came to Flushing High School at the beginning of

the 2016-17 school year. She was a 13-year employee of DOE, working in a variety of positions

in other schools before coming to Flushing. AP D’Alessio was not Respondent’s rating officer

or supervisor. Her focus was on special education students, and her responsibilities did not

intersect with Respondent’s work as a science teacher. Respondent included the AP in his emails

and responses, but she felt that his emails were not related to teaching ISS students. The AP

asked Respondent at least twice to remove her from his emails. Respondent told her to look up

DOE email policies, and that because, in his view, he was not violating them, he would not take

her off the list. The AP also co-taught a class with Mr. Carvelas, one of the targets of

Respondent’s email directed at individual teachers, as described in Specification 3. Mr. Carvelas

was upset that Respondent had taken to calling him Mr. D’Alessio and for having gone over to

the dark side by working with one of the administrators.

       Ms. D’Alessio also recounted Respondent’s performance at a town hall meeting early in

the 2016-17 school year that was supposed to be about how the school was doing meeting its

renewal school benchmarks. Respondent repeatedly interrupted the meeting and accused the

Principal of asking teachers to change grades.

       Terri Wright (T 99-122), the Principal’s Secretary Flushing High School testified that she

had worked for DOE for 23 years in various administrative support capacities. She has been the

Principal’s secretary for three or four years. Ms. Wright described Flushing High as “renewal”
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school, a struggling school that is under NYS review of its meeting of certain benchmarks. The

school has approximately 1800 students and 808-100 teachers. The witness knows Respondent

as one of the teachers at the school. Ms. Wright became a complainant to SCI on her behalf and

at the behest of the school’s Principal (P), Dr. Chin. She described the situation as follows:

       Q. What, if anything, about the email interaction prompted you to report that to
       SCI?
       A. It was excessive, very negative, very angry. It was mass emails to all staff,
       despite the fact that staff members, including myself, requested that he discontinue
       the use of the email system in this regard, stop emailing me personally. He would
       not and always comes back with a very smart negative remark about it; such as, if
       you don't like it, just don't read it.
       Q. How often would you receive these types of emails from Mr. Ok?
       A. It's excessive; two, three times a week and they were very, very lengthy
       emails.
       Q. Approximately how long, like the duration of how long you were receiving
       those emails.
       A. At least once a week maybe or a little more.
       Q. I'll rephrase my question.
       A. Yes.
       Q. Approximately when did Mr. Ok start sending these types of emails?
       A. As far as I've been in the school I can remember him being notorious for these
       kinds of emails.
       Q. Did the content or tone and/or the amount of emails change at all over that
       time period?
       A. I think they became lengthier and they became more aggressive, more
       demeaning until it eventually started to get personal.
       Q. What do you mean by that?
       A. Well, the last email specifically named particular people, degrading them, went
       into their personal life and even the way their names were spelled. I personally
       refrained from getting too--I personally refrained from trying to email him certain
       times because I was afraid he would get personal with me or embarrass me. (T
       102-3)

       Ms. Wright felt that Respondent was wound too tight. She asked him to take her off the

reply list at least four times. His answer was always to tell her to delete his reply. She felt the

tone of Respondent’s reply all emails was aggressive and scary. Eventually the witness took

Respondent off emails so that he could not hit reply all. She also clearly felt that Respondent

could become unhinged at any time and could hurt someone.
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       Vincent Tobia (T 123-146) teacher-Career and Technical Education (CTE) Coordinator

Flushing High School runs the CTE and work-based learning programs at Flushing High.

Recalls Respondent began sending mass emails about the time there was a discussion about

grading policies at the school. After that, Respondent would take opportunities to send mass

emails to everyone about various opinions he held. Mr. Tobia emailed Respondent at least twice,

and asked to be taken off the list; he also discussed his desire to be off the list once or twice

when he encountered Respondent in the hallways of the school. One time, Respondent replied

by telling Mr. Tobia to check the DOE’s email usage policies. Mr. Tobia liked to arrive at the

school early and get to work right away. He did not want to find his electronic mailbox full of

messages about how bad everything was. Respondent’s emails would stir up and cause trouble

with other staff members – they were distracting to the real tasks at hand. The newer version of

the email system does not allow users to block other DOE users, so there was no remedy. Mr.

Tobia indicated that Respondent was really bothering him and other teachers:

       bothering is harassment. I didn't feel threatened. I didn't feel like he was being--
       he's going to come after me in any way, shape or form. I felt like, to best describe
       it, when you have that fruit fly buzzing around your head, and you're like come
       on, I've got to do work. I need to focus. That's what it was. I feel a little anxiety
       now talking about it. Even now, it's like when can this just please stop. I have a
       job to do and it's educating kids. (T 146)

       Mr. Tobia felt that Respondent was always disrespectful to P Chin. He recalled a faculty

meeting during which Respondent engaged in an argument with the Principal for so long that Mr.

Tobia went to the rest room to avoid having to listen – he had to go again after he went back to

the meeting and found that Respondent and the Principal were still arguing.

       Keith Carvelas (T 233-250) an earth science teacher at Veritas Academy has been a DOE

employee for 13 years; 11 of those years were at Flushing H.S. Mr. Carvelas generally got

along with the Respondent, but he was not particularly close to him. The witness was the
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recipient of many of Respondent’s mass emails, that also included the Chancellor and

Superintendent. Mr. Carvelas read some, read parts of some, and deleted some – depending on

the amount of time he had. He was not particularly annoyed by them, but he did think that some

were detrimental to the school.

       Mr. Carvelas was one of the targets of Respondent’s reply all email described in

Specification 3. At the hearing, he professed not to be bothered by what Respondent said about

him; he did say that the email was inappropriate. His testimony about Respondent’s alleged

antics and the way he felt was substantially different from the views he expressed in an email he

sent to P Chin and AP Amaya in May 2017 (DOE 2E, Bates pp. 093-094) which detailed his

frustrations with Respondent, including calling Mr. Carvelas “Mr.D’Alessio”.

       Natalie Berhumoglu (T 251-284) Flushing High School English teacher has taught at

Flushing High for eight years. The witness did not work with Respondent directly, but

apparently admired his style from afar. She viewed his emails as akin to a faculty member

standing up at a faculty meeting to express school-related concerns. Although she did note that

there was a time allotted for this at a meeting, she apparently felt that email allowed a faculty

member to discuss any school related issue with everyone on the staff of the school whenever he

or she felt like it. The witness also identified a petition that she and some of the other teachers

signed in support of Respondent after these Specifications were filed. (R 4) Although she was

one of the faculty singled out in the Specification 3 email, she took no offense, and felt that the

email was merely sent to point out that people could be targeted for anything if someone wanted

to use emails in an extreme fashion; in other words, if you are annoyed by someone’s emails, it is

your problem.
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       Lucienne Shannon Schnell (T 284-300) a former Earth Science teacher at Flushing High

School testified that she had taught Earth Science at the school for 15 years but was recently

excessed. Her daughter babysits for Mr. Carvelas. The witness viewed the Specification 3 email

as a joke, and she thought Mr. Carvelas took it the same way. This witness also signed the

petition for the Respondent.

       Javier Gomez (T 301-17) has taught mathematics, calculus, and AP calculus at Flushing

High School for 22½ years . Mr. Gomez signed the petition in support of Respondent and talked

with Respondent about grading and curriculum issues in the Mathematics Department.

       Laura Marie Giglio (T 324-63) is a 21 year Flushing High School history teacher and is

the UFT chapter leader for the school. At the outset of her testimony, she attempted to correct a

peripheral issue from the discipline letter (DOE 5) given to Respondent in connection with the

PTA meeting incident. The witness testified that she advised Respondent that she was getting

the UFT District representative involved because she was too new to deal with Respondent’s

complicated problems dealing with email usage.

       Ms. Giglio expressed her view that Respondent had been advised by P Chin that

Respondent could send emails to the entire school community if there was an issue that was

relevant to the entire group. (R 6)

       When Ms. Giglio saw the email described in Specification 3, she realized it was an

attempt at humor by Respondent. Even though she thought it was humorous, she took it upon

herself to talk with all but one of the people mentioned in the email the same day; she spoke with

one person the next day. The teachers and administrators all allegedly told her that they thought

it was humorous, or they did not bother reading anything Respondent sent.
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       Rita Baris (T 363-78) is a retired teacher who taught at Flushing High for a significant

part of her 31-year teaching career. Ms. Baris started her career at Flushing in 1984 and left in

1990; she finished her career at the same school, working there from 2010 until she retired in

January 2017. She was a Master Teacher – when initiatives were introduced at the school, it was

her job to break the initiatives down and give professional development, or training, to the

teachers. Respondent was part of the SLC (small learning community) that Ms. Baris was in

charge of. Respondent was an enthusiastic participant in a program designed to teach writing

skills in all subject areas. The witness would often use Respondent’s work, and his students’

work as examples for other teachers and students.

       Ms. Baris spoke with AP Amaya about the email described in Specification 3 as he was

mentioned in the email. AP Amaya was concerned that the email would hurt Respondent’s

position in the school. The AP also expressed unhappiness that his personal life outside of

school had been described in the email.

       Christopher DeNigris (T 378-92) is a special education social studies teacher who taught

at Flushing High for 3 years in total. He was a probationary teacher while he was at the school.

The witness thought a lot of Respondent, and he considered the Specification3 email to be a joke.

       Respondent began his practice of using reply all emails in 2013 when the previous

Principal instituted a policy of giving a student a grade of 55 for a marking period if the student

came to class one day. This meant, according to the Respondent, that a student could pass the

course by merely doing enough work in one marking period to get a decent grade, which would

be averaged with the 55s for the marking periods when nothing was done. Respondent pointed

out that DOE policy was to give grades of 0-100, and that this was violative of the policy.
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Respondent cc’d the Chancellor at the time and went back and forth by email with officials about

this policy.

        Respondent, during 2013, called the internet usage office of DOE and asked whether he

could send emails about union matters or school related issues in schoolwide emails. The only

advice he received was to remember that the emails would be FOIL’able. In the discovery in this

case, Respondent learned that teachers and the Principal had complained to both SCI and OSI in

2013 about Respondent’s use of reply all in his school related emails. The OSI determined that

there was no violation of Chancellor’s Regulations. (DOE 2E, Bates pp. 188-211). Principal

Brown was Principal when the 2013-14 school year complaint was made to OSI. A new

Principal, Ms. Radavich, took over in 2014-15, but the reply all emails stopped because there

were no initiatives that, in Respondent’s view, violated other laws or policies. Mr. Kendall was

the next Principal. There were no problems with emails with him because everyone supported

one of Respondent’s reply all initiative over an unfair comparison between Flushing and another

high school. Mr. Kendall did tell Respondent that reply all had the potential to promote a

negative school culture – Respondent claimed to reply to that suggestion by asking what the

difference was between hitting reply all and getting up at a faculty meeting.

        Finally, Principal Chin arrived. P Chin arrived in 2015-16 and was removed from the

school about the time that Respondent was removed in October 2017. Trouble with P Chin over

emails began in December 2015; there was an email exchange between Respondent and the

Principal that included the entire staff as recipients. (R 6) Respondent was advised that he could

continue to send emails to the entire staff, Respondent was within his rights to do so; but, P Chin

advised Respondent that if he had a question for the Principal, he should address the Principal

without adding others to the email chain. Respondent claimed that he was not advised by
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Principal Chin that he should not use reply all until the September 18, 2017 disciplinary letter.

(DOE 6) Respondent claimed that the last time he used the reply all function was on April 29,

2017, four months before the disciplinary letter.

       Respondent also recounted the PTA meeting incident on February 15, 2017. Respondent

went because he was concerned about an assault that had taken place in the school, and the low

percentage of passing grades in the January 2017 Regents biology exam. Unbeknownst to

anyone at the meeting, Respondent recorded the proceedings. (R 8) A transcript was prepared

as well. (R 9) Respondent received a disciplinary letter regarding the PTA meeting incident

(DOE 5), and he did not attend any more PTA meetings.

       Respondent claimed that all of his emails referred to in Specification2 were reply all

emails to messages that dealt with school and educational issues. Respondent did not have a

distribution list, and he advised people who wanted to be taken off his email replies that the

original list of recipients was not his list, and that they should delete the messages. For the final

email in April 2017, Respondent claimed that he did remove four persons’ names from the list of

recipients that had come with the original email.

       While at the school, Respondent complained to SCI and OSI a couple of times himself.

One complaint that alleged that P Chin had directed the teachers to put only positive responses

on the teacher survey for 2015-16 was investigated by OSI in the Spring of 2016. The OSI

investigator allegedly told Respondent that the complaint about the 75% pass quota was being

investigated by SCI. P Chin told the staff in 2016-17 that a “whistleblower” had caused the

school to lose points that would have gotten the school out of renewal status. Because the loss of

points was related to the teacher survey, some teachers and staff thought that Respondent had

been the whistleblower, and they reacted negatively towards him.
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        Respondent also attempted to explain his view of what happened with respect to the

email set forth in Specification 3. Respondent (and the rest of the staff) received an email from P

Chin accusing Respondent of being negative and pulling apart the school. The Principal also

advised Respondent (and the rest of the staff) that Respondent’s actions “(W)ill cost people their

jobs….” (DOE 2E, Bates pp. 273-4). The email urged Respondent to become a cheerleader, and

asked Respondent to remove him (the Principal) from the email distribution list. 3 Respondent

replied (to all, including the Principal) with the email that became Specification 3. (DOE 2E,

Bates pp.270-3) Respondent testified that he attempted a humorous response, but that he now

realizes that humor can be a “tricky thing” if it is misconstrued. He indicated that he would not

do something like this again.

        Respondent also noted that he had been shouted down four times in faculty meetings

when he tried to address pedagogical issues. Two times by an AP and two times by an athletic

coach. One of the coach shout down incidents was referred to by P Chin in the November 30

email noted above – P Chin said that he agreed with the coach. The only negative comment

about the Specification 3 email was from Mr. Carvelas, who said that P Chin had given him a

bad observation, and Respondent was going to get them all fired. P Chin was removed from the

school at about the same time as Respondent in October 2017. Respondent wishes to return to

teaching high school sciences.

        Although the Department and Respondent did produce witnesses who were recipients of

emails or observed the events described in the Specifications, both parties did rely on hearsay

evidence in order to attempt to prove or counter the allegations in the Specifications. While

hearsay is admissible in a proceeding such as this, the proffered hearsay must be analyzed as to


3 This would have been an interesting achievement as the Principal was the sender of the emails that

Respondent was hitting reply all to.
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its reliability and weight as due process in our system generally allows a party to directly

challenge witnesses who offer adverse proof. Reliability of hearsay can be evaluated by looking

at the character and type of the declarant, the availability of the declarant to testify, the

declarant’s basis of knowledge, bias, relationship to the litigants, details of the statement,

corroboration, and the degree of relevancy to the case. In this case the hearsay was appropriately

admitted. However, in that vein, it must be noted that the former P Chin did not testify at the

proceeding. No reason for the failure to call him was proffered, although Respondent testified

that he and P Chin were in the same re-assignment center. Again, all of the proffered hearsay

will be considered as authorized by law, but it’s weight and probative value will be generally

diminished by the lack of showing of unavailability, and the interest and bias of the declarants.

        The Department of Education provides its “Internet Acceptable Use Policy” on its

website. The relevant portions are as follows:

        Internet access and e-mail provided by the Department are intended for
        educational use, instruction, research and the facilitation of communication,
        collaboration, and other Department related purposes. Users are subject to the
        same standards expected in a classroom and/or professional workplace….

        Users may not engage in any of the activities prohibited by this policy when using
        or accessing the Department’s Internet Systems. If users are uncertain whether
        behavior is prohibited, they should contact a teacher, supervisor or other
        appropriate Department personnel. The Department reserves the right to take
        immediate action regarding activities that (1) create security and/or safety issues
        for the Department, students, employees, schools, network or computer
        resources, or (2) expend Department resources on content the Department
        determines lacks legitimate educational or Department content or purpose, or (3)
        the Department determines are inappropriate….

        Below is a non-exhaustive list of examples of prohibited behavior:

        1. Causing harm to others, damage to their property or Department property,
        such as:…
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           •   Using, posting or distributing profane, lewd, vulgar, threatening, or
               abusive language in e-mail messages, material posted on Department web
               pages, or professional social media sites;…

           •   Accessing, posting or distributing harassing, discriminatory,
               inflammatory, or hateful material, or making damaging or false statements
               about others;…

           •   Sending, posting, or otherwise distributing chain letters or engaging in
               spamming;…

           •   Using the Department’s Internet System in a manner that interferes with
               the education of the user or others or the job duties of the user or others….

                                POSITIONS OF THE PARTIES

       Respondent takes the position that DOE failed to meet its burden of proving any of the

Specifications by a preponderance of the evidence, and even if one or more Specifications were

proved, Termination would not be an appropriate penalty. According to counsel, Respondent

was responsibly executing his 1st amendment free speech rights by discussing matters that were

important to education, the students, and Flushing High School.

       In his closing argument, Respondent’s counsel stated:

       Rita Baris, master teacher, “She also stated that his ideas on writing and how
       students learn to write were used throughout the entire school, and she added that
       his lesson plans were also exemplary and used throughout all the school's
       Departments. His ideas on increasing parental engagement were also accepted and
       used throughout the school. She also noted in her testimony that Mr. Ok routinely
       stayed after school. He volunteered to do that work with the students at no
       compensation, and she specifically stated on cross-examination that he did not
       create a hostile work environment in neither the Department or the school. There
       was never any mention on cross of harassment by Mr. Ok of any other teachers.”
       that Mr. Amaya, the head of the Science Department, did not appreciate the e-
       mail, but was more concerned for Mr. Ok's continued employment with the
       school. She noted that Mr. Amaya appreciated Mr. Ok's work ethic, his ideas for
       advancing his students' abilities, and his constantly bringing in outside materials--
       like, for example, pond water--to his class in order to help his students grasp the
       lesson. In addition, …take note that in Mr. Ok's entire teaching career of 20 plus
       years he has always wanted to teach students from poor neighborhoods,
       immigrants who speak English as a second language. Further, this is Mr. Ok's first
       3020- a charges, and his evaluations prior to Principal Chin at Flushing high
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       School were either highly effective or effective, and his students have always
       done well on the science Regents, in fact, much higher than the averages than the
       other teachers in the Science Department….

       The Department takes the position that it did prove that Respondent committed all of the

acts outlined in the Specifications. The Department felt that Respondent had basically lost

control and imposed his thoughts and ideas inappropriately and annoyingly on the rest of the

school’s staff and administrators. Counsel argued that other teachers had been asked to be

removed from emails since 2013. In 2014 Respondent was warned by P Kendall. P Chin

warned Respondent to remove names of people who had asked out from his list. When people

asked off the list, Respondent sent them curt responses. DOE’s counsel stated:

       I'd like to talk about the internet acceptable use and safety policies, which state
       that the Internet access and e-mail provided by the Department are intended for
       educational use, instruction, research, and the facilitation of communication,
       collaboration, and other Department related purposes. Users are subject to the
       same standards expected in a classroom and/or professional workplace. The
       Department reserves the right to take immediate action regarding activities that
       the Department determines are inappropriate. It does list a non-exhaustive list of
       prohibited behavior, and some examples are on point in this case, such as
       distributing, harassing, inflammatory, or hateful material, making damaging or
       false statements about others, engaging in spamming, using the Department's
       Internet systems in a manner that interferes with the education of the user or
       others, or the job duties or the user or others.

       The handbook, both of them that were put into evidence, further clarifies the
       acceptable uses of e-mail and refers to the Department's Internet acceptable use
       and safety policies. The handbook clarifies that acceptable e-mail activities are
       those that conform to the purpose, goals, and mission of the Department.
       Unacceptable use does not conform to the purpose, goals, and missions of the
       Department, including transmitting offensive, harassing information and
       distributing junk mail. Moreover, the handbook notes that users may be subject to
       limitations on their use of e-mail as determined by their supervisor.

       Counsel for the Department pointed out that the SCI had recommended strong

disciplinary action that might include termination. Counsel advocated that the appropriate

penalty for Respondent would be termination.
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                                            FINDINGS

I address the Specifications in the order they appear in the charging document, DOE 1 The

Specifications do not necessarily stand out themselves as any kind of misconduct; the preamble

to the Specifications provides the context for what is alleged to be wrong. The preamble states

that “During the 2015-2016 and 2016-2017 school years, Respondent engaged in misconduct,

harassment, insubordination, conduct unbecoming his position and neglect of duty as follows:”

SPECIFICATION 1: On or about February 15, 2017, Respondent interrupted a Parents
Association meeting in that, Respondent:

a) Gave parents his phone number and/or directed parents to call him for the real status of the
school.
b) Accused another faculty member of failing to translate the Respondent's statements at the
Parents Association meeting because she did not want to tell the truth to parents.
c) Polled parents regarding whether or not they received "cut calls" from the school if their child
was absent from school.
d) Told parents that teachers are being pressured to pass students.
e) Told parents that students are just being pushed through the system.

       Both sides offered proof about what occurred at this meeting. The most significant proof

was the recording of the meeting by the Respondent. (R 8) Whether it was appropriate to do this,

is not an issue in this case. The recording reveals that AP Cutie was acting in an appropriate,

polite, and professional manner at the meeting. She was polite to the Respondent who spoke at a

few points in the meeting. Respondent was also polite and respectful with his comments, which

were all about issues that would concern parents of students in the school. Respondent did not

say the things attributed to him in Specification 1b. Respondent asked the AP doing the

translating why she had stopped, and he was told that it was because one of the parents of one of

the students involved in the assault incident was in the room. There was nothing about not

wanting to tell the truth. Nor did Respondent ever direct parents to call him for the “real” status

of the school. He gave the parents his phone number and advised them to call him if they wanted
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to. The phone number and translation issues related to an agenda item about bullying, and

Respondent raised issues about an assault incident and a near riot incident in the school. When

AP Cutie spoke about attendance issues, Respondent raised the issue of cut calls home. When

AP Cutie spoke about the importance of graduation, Respondent raised the issue of the

difficulties students have re-taking Regents exams (necessary for graduation) without being able

to re-take a course that they had “passed” under the marking system.

       Respondent’s comments were appropriate to the meeting agenda and related to the

educational business of the school. The comments were not disruptive; the meeting finished

sooner than planned. The PTA President controlled the agenda and AP Cutie was polite and

informative to the attendees and to the Respondent. Respondent did not go back to another

meeting after receiving a disciplinary letter.

       The Department did not prove by a preponderance of the evidence that Respondent’s

actions in the meeting described in Specification 1 amounted to misconduct in any form.

SPECIFICATION 2: During the 2015-2016 and/or 2016-2017 school years, Respondent created
and/or attempted to create a hostile work environment in that:

a) Respondent continuously sent e-mails to colleagues who asked to be removed from his
distribution list.
b) Respondent repeatedly replied all to e-mails from administration to staff to discuss his
personal grievances with the administration.
c) On or about May 2017, Respondent sent an e-mail to the entire staff stating, kudos to those
teachers for standing up for what's right even if it means personal risk in a corrupt system.

       The Department relied on the testimony of all of its witnesses and almost all of its

exhibits to prove these Specifications. It is clear that Respondent continuously sent emails,

almost always in a “reply all” form to colleagues who had received the original email. The

people who received Respondent’s replies also received the original email. In essence, the

recipients were chosen by the Principals who sent the emails originally. Respondent merely used
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reply all rather than reply. The Principals continuously acknowledged (as did OSI in 2013) that

Respondent could use reply all so long as he discussed issues related to education, which would

presumably be the purpose of the Principal’s original email.

       Respondent drove a truck through that opening. Some of the people on the distribution

list did not want to hear from the Respondent. His reply emails were almost always critical of

some aspect of the situation at Flushing High. Some people get tired of constant reminders about

problems that they have nothing to do with, and which they cannot fix. Respondent was adept

enough with the system to include the original recipients in some of his reply emails when an

administrator had replied to one of Respondent’s replies without using reply all. It would be a

simple matter of courtesy to take people off the email chain who did not want to be part of the

discussion Respondent wanted to have.

       Respondent’s personal grievances were not a major part of his email replies. Just

because he felt strongly about some issues related to integrity and focus on improving student

outcomes does not mean that those things are personal grievances. The content of the emails

was related to educational issues.

       That having been said, Administrators have the right to run orderly discussions, just like

they can run orderly meetings. Being a whistleblower, or exercising 1st Amendment rights, does

not allow a teacher to disrupt meetings with administrators by taking over the agenda and doing

all the talking – even if the talking is about the subject matter of the meeting. If someone sends

an email and invites a group discussion, presumably replies from members of the group are

appropriate and wanted. Where there is no reply necessarily invited, it should be easy to see that

some people may not be interested in reading a reply.
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       Respondent knew that some people did not want to hear from him long before any

warning from investigators or discipline letters. Common courtesy would seem to require that he

delete names from the “to” box on his email when three or four people have asked him to.

       The Department showed by a preponderance of evidence that Respondent continually

sent emails to colleagues who did not want to hear from him as alleged in Specification 2a.. He

surely knew that the persistence of his doing so made it annoying to someone to have to bother to

delete the email without reading it. This was annoying and was conduct unbecoming his

position, as alleged. It was not misconduct, insubordination, harassment, or neglect of duty.

       The Department failed to show by a preponderance of the evidence that Respondent

repeatedly used reply all to discuss personal grievances. Respondent did occasionally mention

his view that his lesson observation ratings were lower as a result of his raising issues about the

operation of the school. Respondent may have held persistent views about grade inflation,

manipulation of surveys, etc., but that does not mean that they are personal grievances.

       Specification 2c. came from email on May 8, 2017. This email was part of a string of

emails (DOE 2E, Bates pp. 96-101) that started with a group email to the staff about events in

May 2017, including the fact that it was teacher appreciation week. Another staff or faculty

member then hit reply all and sent an email thanking the administration for recognizing teachers

that day and for the school doing well on its quality review. Respondent then responded by

“piggy backing” on the other staffer’s comment and expressed appreciation for teachers who

battle for children as if they are their own children, and for teachers who stand up for what is

right. Respondent then topped that comment off by providing a link to an article about a

Principal who had turned around another failing school and noting that Principal’s courage. He

did say the words mentioned in the specification, but the Department failed to prove by a
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preponderance of the evidence that there was misconduct with respect to this particular email.

Specification 2c should be dismissed.

SPECIFICATION 3: On or about December 1, 2016, Respondent sent an e-mail to the entire
staff, which stated in sum and substance:

a) Mr. Amaya - I'm sorry, but I just realized that every time you email me, there seems to be
more work I need to do. Plus, I never mentioned this before, I feel harassed by the mention of
your achievements in the iron man competition in the email stamp. I always feel bad about
myself when I see that you can teach, lead the department, coach, be a father of 4 children, and
still manage to have a six pack. And you do realize that I live like 5 houses away from you?
Please choose another route for your run if you can. Is it really necessary to wear those tight
biking shorts as well? Every time my wife sees you running by, she immediately glares at me
with a look I can only describe as accusational, as I sit watching tv with a bag of potato chips.

b) Ms. Pinkasova - Please remove me from your distribution list. My therapist recently told me
that my nightmares of being chased by a big W can only be from the daily Witsi inquiries you
force us to do. In fact, I have been having flashbacks of sentence fragments and BBS tasks every
time I see the color pink during my school day.

c) Ms. Alicanoglu and Ms. Berhumoglu - Please, I do not want any correspondence from either
of you because, honestly, your names are so hard to spell that I have to waste valuable time -
time I could be spending on my students - to constantly refer back to email lists to see that I
spelled your names correctly (I actually had to look twice for this paragraph). Please follow my
example : Ok. I would prefer you both not send me any emails until you officially change your
names to Al and Ber.

d) Mr. Carvelas - Even though I have never had a mass email from you, I have to ask that you
never do. Your mannerism and voice have a frightful resemblance to George Costanza from
Seinfeld. Just the mere thought of you (or George) distracts me from the important work of
preparing my lesson plans. Remember the time George wanted a better parking spot.. .. damn, I
did it again.

e) Mr. Copchains - Please remove me from any future emails. Nothing personal, but with my
past actions, your name brings me dread and guilt. Your name actually harasses me. The only
thing worse would be if your name was Doctorneedle.

f) Ms. Stevens - It's bad enough that you enter the room after my class with more energy at 8:45
in the morning than the teenagers we teach, but your impeccable dress and accessories puts my 1
10 dollar golf shirts from Modell's to shame. Although you seem to know the ins and outs of
grammar and syntax - I can not but be offended that you believe that Alanis Morissette's lyrics in
the song , "Ironic" actually shows irony. A black fly in my chardonnay is not ironic. It would
only be ironic if that fly lived it's life fighting for the temperance movement.

g) Dr. Chester- no explanation necessary.
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h) It is now midnight so I must get back to sewing my Cheerleading outfit. But I promise that
there are plenty of more people I would like to bar from sending me any more work related
emails.

i) As a suggestion can there be a position posting for Email Block List coordinator? I believe that
plenty of other staff members would like to omit emails from others they disagree with at FHS.

       Respondent admitted that he sent this email. Respondent thought it was a joke, but now

recognizes he should not have sent it. Many of the teachers and administrators mentioned

thought it was funny too. To anyone not in on the joke, this email was without a doubt out of

bounds.

       The Department proved by a preponderance of the evidence that Respondent acted in a

manner that was unbecoming of his position in sending this email. Given the attitude of the

recipients, I do not believe that the Department showed that it amounted to insubordination or

harassment.

SPECIFICATION 4: During the 2015-2016 and/or 2016-2017 school years, the Respondent
failed to adhere to the Principal's directive to stop sending the emails as described in
Specification 2 and/or Specification 3

       There was no directive to stop sending emails as described in Specification 3;

Respondent should have known better in the first place. It is the only one that Respondent sent.

       There is also no clear direction to stop the types of emails sent in Specification 2.

Principal Brown wanted to be taken off the reply all emails to which he was the original sender.

Principal Chin ended up in a similar posture. Both Principals recognized that Respondent had a

right to communicate with other staffers about school related issues. The DOE guidance and the

staff handbooks do not address a situation like this, but there is nothing that seems to prohibit a

public employee, like a teacher, from communicating with fellow educators about education-

based issues so long as it is not disruptive to the functioning of the school or upsetting to the
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individuals. People, including the Principal’s secretary, can delete emails without reading them.

However, people cannot claim they feel harassed just because they do not agree with the content

of an email that someone is entitled to send. Respondent should have had the good manners to

take some people off the to list on some of the emails that he sent. But the timing of the

Principals’ directives is unclear, and the Department did not show that he was insubordinate by a

preponderance of the evidence. To the extent that the Department would argue that it is conduct

unbecoming Respondent’s position, I find that this charge is subsumed in the finding with

respect to Specification 2a.

       To sum up, based on the proven specifications, I find that the Department has carried its

burden of proving that Respondent engaged in misconduct in the nature of conduct unbecoming

his position with respect to Specifications 2a and 3.

       I also find that the charges brought by the Department were not frivolous, and they raise

genuine issues about employee email use. I believe that if Respondent continues to use reply all

as a way to communicate genuine opinions and raise genuine issues, he will reach a point in

some situation where annoying conduct becomes disruptive enough to merit termination.

       Education Law section 3020-a.4(a) directs the hearing officer to make findings of fact

and conclusions, and to choose from variety of penalties, including written reprimand, fine,

suspension for a fixed time without pay, or termination. In considering the penalties, the hearing

officer may consider “…(T)he extent to which the (employer) made efforts towards correcting

the behavior of the employee which resulted in charges being brought under this section. through

means including but not limited to: remediation, peer intervention or an employee assistance

plan….” NY Education Law 3020-a.4(a). According to the same section of the Education Law

3020a, the hearing officer may also impose remedial action such as a leave of absence,
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continuing education and/or study, a requirement to seek counseling or treatment, or other forms

or combinations of remedial actions.

       The evidence introduced did not show that any remedial actions were proposed by

administrators in the disciplinary letters provided to Respondent, other than to stop doing what

he was doing. Respondent stopped the conduct once he was aware that he was going to get into

trouble for it. This writer observed Respondent throughout the hearing, including his testimony,

and it is clear that he is passionate for teaching, but also eager to explain himself. He appears to

be thoughtful enough to have reflected on what he has done to himself and his desire to help

educate children.

                                            PENALTY

       Having found that the Department has proven Respondent committed misconduct in the

incidents described in Specifications 2a and 3, there must be an appropriate penalty imposed. In

addition to sitting at the hearing and reviewing the transcripts and exhibits received, I have

reviewed the previous decisions of Courts and other hearing officers provided to me by the

Department and the Respondent. The Department presented some cases that resulted in

termination. All of these involved hearing officer decisions in matters involving much more

egregious conduct than what occurred here. Respondent’s counsel cited arbitrator decisions that

look to progressive discipline issues. I have also reflected on my experience as a hearing officer

for several years.

       I believe that termination would be an excessively harsh penalty in this matter. The

Respondent is a 21-year teacher with a good record teaching at a school with many challenges.

He has expressed recognition that he acted inappropriately in at least one of the instances, and he

clearly wants to continue teaching. He needs to understand that he should not be wasting the
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time of people who have no interest in the issues he might be raising by email. It seems that he

needs some training and education in ethics and civility in the use of social media and email.

Respondent must realize that any repetition of this conduct is likely to lead to termination of his

employment.

       Accordingly, I determine that the proper penalty in this case is that Respondent is to be

fined $500, and he is required to complete 5 hours of professional development or counseling in

the area of workplace ethics and civility in social media and email usage. The professional

development, or counseling, must be approved by and be at the expense of the Department, and

should take place as soon as possible, but be completed before the beginning of the second

semester of the 2018-19 school year. The fine is to be paid immediately.
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                                             AWARD

       Specifications 2a and 3 insofar as they allege conduct unbecoming the profession are

sustained. The Penalties for the violations proven in these Specifications are that Respondent is

to be fined $500, and he is required to complete 5 hours of professional development or

counseling in the area of workplace ethics and civility in social media and email usage. The

professional development, or counseling, must be approved by and be at the expense of the

Department, and should take place as soon as possible, but be completed before the beginning of

the second semester of the 2018-19 school year. The fine is to be paid immediately. The

remaining Specifications and allegations are to be dismissed. Respondent is admonished that

repetition of this conduct is likely to lead to termination of his employment.

Dated: August 30, 2018
Albany, NY


                                                      _________________________________
                                                      Donald T. Kinsella, Esq.
                                                      Hearing Officer

State of New York
County of Albany

I, Donald T. Kinsella, affirm that I am the individual described herein and that I have executed
this instrument as my Opinion and Award in this matter.


                                                      _________________________________
                                                      Donald T. Kinsella
